          Case 1:17-md-02800-TWT Document 98-1 Filed 01/11/18 Page 1 of 1


                          IN THE UNITED STATES DISTRICT COURT
                         FOR THE NORTHERN DISTRICT OF GEORGIA

                                                          )
______________________________,
IN RE: EQUIFAX, INC. CUSTOMER DATA SECURITY BREACH        )
                      Plaintiff(s)                        )
                                                          )     Case No. 1:17-MD-2800-TWT
                    V.                                    )
                                                          )
______________________________,                           )
                    Defendant(s)                          )


                          NOTICE OF FILING OF OFFICIAL TRANSCRIPT

        Notice is hereby given that an official transcript of a proceeding has been filed by the
court reporter/transcriber in the above-captioned matter. Counsel/Parties have twenty-one (21)
days from the date of delivery of the transcript to the Clerk to file with the Court a Request for
Redaction of this transcript. If no Request for Redaction is filed, the transcript may be made
remotely electronically available to the public without redaction after 90 calendar days.

       Any counsel or party needing a copy of the transcript to review for redaction purposes
may purchase a copy from the court reporter/transcriber or view the document at the Clerk’s
Office public terminal.
                      ______________
                      1/11/18                        __________________________________
                                                     Susan Baker
                              Date                               Court Reporter


                         VERIFICATION OF FINANCIAL ARRANGEMENTS

         Proceeding Type:               ______________________________________________
                                        STATUS CONFERENCE
                                        ______________________________________________
         Proceeding Date:               ______________________________________________
                                        1/9/18
                                        ______________________________________________
         Volume Number:                 ______________________________________________
                                        ______________________________________________

      Notice is hereby given that financial arrangements for a copy of the transcript have been
made with the following individual(s): ALEXANDRA PEURACH

_____________________________________________________________________________
as counsel/party in this case. He/She is to be provided with remote access to the transcript via
CM/ECF and PACER.

                      ______________
                      1/11/18                        __________________________________
                                                     Susan Baker

                              Date                               Court Reporter
